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 7
                         UNITED STATES DISTRICT COURT
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                                EASTERN DISTRICT OF CALIFORNIA
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10   UNITED STATES OF AMERICA,                       Case No. 1:13-CR-0362 AWI-BAM

11                     Plaintiffs,                   ORDER ON DEFENDANT’S MOTION
                                                     FOR DISCOVERY (Doc. 98, 103)
12          v.

13   GAYLENE LYNNETTE BOLANOS, et al.,

14                     Defendants.

15   _____________________________________/

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17         Defendant, Gaylene Lynnette Bolanos, is proceeding pro se in this criminal action

18 pursuant to Faretta v. California, 422 U.S. 806 (1975). Defendant filed motions for discovery.

19 By opposition filed on December 12, 2013, the government opposed the motion. The matter came

20 on regularly for hearing on December 23, 2013. The government appeared by counsel Assistant

21 United States Attorney Megan Richards. Defendant appeared pro se.

22         Defendant requests that discovery be produced in an unredacted form and requests

23 electronic versions and hard copy versions of the documents. Defendant also seeks access to her

24 computer which was seized.

25         The government opposes that unredacted copies of documents be provided to defendant on

26 the grounds of Fed.R.Crim.P 49.1 and Local Rule 140. The government states that it must ensure
27 the privacy interests of others who are referenced in the discovery. The government states that it

28 has provided some 11,000 pages of redacted discovery, and offers inspection of unredacted
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 1 documents. The government also states it will provide access to the imaged copy of defendant’s

 2 computer, and that the original computer has been returned to defendant.

 3          At the hearing, defendant indicated that she is not objecting to the material that has been
 4 provided to her, but rather, she objects to the pace of production of discovery by the government.

 5 She contends that the government is dragging its feet in production.

 6          In prior proceedings and in its opposition, the government explains that discovery is being
 7 produced as quickly as possible given the volume of data which must be redacted.                The
 8 government states that it did not anticipate having to redact documents because defendant initially

 9 was represented by counsel. Counsel was recently relieved, and defendant was permitted to

10 represent herself. Once that occurred, the government explains that delay necessarily resulted as it

11 began redacting the voluminous discovery.

12          The discovery available in criminal cases is generally circumscribed by: (1) Fed.R.Crim.P.
13 16, (2) the Jencks Act 18 U.S.C. § 3500, and (3) the doctrine set forth in Brady v. Maryland, 373

14 U.S. 83, 83 S.Ct 1194 (1963) (stating that in criminal prosecutions, these three rules exhaust the

15 universe of discovery to which the defendant is entitled

16          The Court finds the defendant’s requests MOOT as the requested documents have been
17 provided or inspection is being permitted. The Court does not find it necessary at this point to

18 establish further deadlines for production of discovery.       Should events in the future delay
19 production or inspection of discovery, defendant may refile her motion.

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     IT IS SO ORDERED.
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22      Dated:    December 26, 2013                           /s/ Barbara A. McAuliffe           _
                                                      UNITED STATES MAGISTRATE JUDGE
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